      Case 3:94-cr-03135-LC      Document 584-2       Filed 04/19/06   Page 1 of 1




             IN THE UNITED STATES DISTRICT COURT FOR THE
                    NORTHERN DISTRICT OF FLORIDA
                         PENSACOLA DIVISION


UNITED STATES OF AMERICA

v.                                                      CASE NO. 3:94cr3135/LAC

WILLIE EARL SIMMONS
___________________________________________/

                                        ORDER


      THIS MATTER comes before the Court upon a document filed by Defendant, Willie
Earl Simmons. The document (doc. 583) is entitled “Motion for Verification of Sentence”.
The document makes no sense in the context of this case. To the extent Defendant intended
the document to be a motion requesting relief from the Court, the motion is denied.
      SO ORDERED this 19th day of April, 2006.



                                         s /L.A. Collier
                                         LACEY A. COLLIER
                                         Senior United States District Judge
